404 F.2d 62
    Donald McCoy DINGUS, Appellant,v.Shirley Light TATE, Appellee.Donald McCoy DINGUS, Appellee,v.Shirley Light TATE, Appellant.
    No. 12574.
    No. 12575.
    United States Court of Appeals Fourth Circuit.
    Argued November 1, 1968.
    Decided November 29, 1968.
    
      Robert T. Winston, Jr., Norton, Va., for appellant.
      James P. Jones, Abingdon, Va., (Andrew P. Miller, and Penn, Stuart &amp; Miller, Abingdon, Va., on the brief) for appellee.
      Before HAYNSWORTH, Chief Judge, BRYAN, Circuit Judge, and McMILLAN, District Judge.
      PER CURIAM:
    
    
      1
      The plaintiff has appealed from a verdict in his favor complaining of its insufficiency to compensate him for a fractured pelvis and other injuries. The verdict was but little more than the claimed items of special damage, but the jury, with reason, could have considered some of them suspect or inflated. We find the verdict not so grossly inadequate as to warrant our intervention.
    
    
      2
      The defendant has filed a conditional cross-appeal, so that she may be relieved of a peremptory instruction as to her negligence in the event a new trial is awarded on the plaintiff's appeal. In view of our disposition of the plaintiff's appeal, we do not reach the merits of the conditional cross-appeal.
    
    
      3
      Affirmed.
    
    